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EXHIBIT H

 
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Tammy Kitzmiller, et al. v.
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Richard Nilsen
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Page 25

Page 27

{1]
(2)

A: Three and a half years.
Q: When you were Assistant Superintendent, did you have

{3} responsibilities for curriculum as Mr. Baksa does now?

(1)
2]
13)

A: No.1 am sorry.That is over 30 yeays ago. That is
all 1 remember.
Q: Have you attended any courses of|lectures or seminars

4) A: Yes. 4) relating to the subjects of evolution, Intelligent
s} | @: And prior to becoming Assistant Superintendent, what did (g} Design, creation or Creationism?
(6) you do? 6): A: No.
m A: Director of Curriculum Instruction. 71 ~—Q: Héw often does the Dover Area Sthool Board mect?
[3] Q: For Dover area? (8) A: Uswally twice a month:
(9) A: No. Big Springs School District. 1) @:-Do-you attend all those meetingst
(19) | Q: How long did you hold that position? (19) =A: ‘Yes.?
(1) A: Five years. Five or six. (11) Q: Who keeps the minutes of those meetings?
(12) Q: And prior to that? [tq] A: The secretary.
(13] A: High School Principal, Big Springs School District. (13] @: How is the secretary position selected?
(14) @: How long did you hold that position? (14) A: To clarify, the Board approves a secretary. Our current
(15) A: Total five years. {1§] secretary of the Board is battling cancef and has not
(16) Q: You used the word total. Was it broken up? [16] been in the District for over a year and|a half. We
7 COA: Yes. (17) have had an Acting Secretary who the Board formally
tie} =: Why was that? (18] approved as Assistant Secretary.
(193 A: Iwas acting one year, then returned to the Assistant (191 On one occasion, October 18th, we fad an

(20) Principal's position. | then went to another District

(20)

additional individual sit in as the Board

secretary.

 

 

 

 

 

(21) for three years, then returned for four. (21) @: In place of the Acting Secretary?
j2q]  @: When you were in the other District, were you also (ez) As Yes.
(23) Principal? (23) @: WP ihc practice of the Board to fecord the meeting?
(24) A: Yes. (24) As"Yes.
25)  Q: Prior to taking positions as a Principal or Assistant 25]  @: What is done with those recordings after the mecting is
Page 26 Page 28
(] Principal, were you ever a schoolteacher? [4] completed?
rs: Yess. 2) A: They are kept until the Board officially approves the
3] Q: What subjects did you teach? fg] minutes. After the approval of the minptes, the tapes
14) A: Social studies. 4] are destroyed.
3) | Q@: How long did you do that? (s] | @: Who developed the policy of destroying the tapes after
fe) ‘A: Five and a half years. {6} the minutes are approved?
7  @Q: Where did you get your degree? ~~ A: Don't know. It happened prior tp me.
fg] A: Which one? fa] +: Are there any circumstances where the full Board meets
(9) | @: What degrees do you have? g) that is not open to the public?
tio) «6s As: Thavean undergraduate BA in social studies from Gordon (10) As Yes.
[11) College. I have a Master's in Administration from (11) @: Is there a name for those kinds pf meetings?
{12} Shippensburg University, and I have a doctorate from {12} A: Executive session.
{13} Temple University. So I am actually Dr. Nilsen. (13) @: Do you attend those sessions?
t4)  @Q: During any of your college and post graduate education, {14 A: Some.
[15] did you take any science courses? (19) @: What are the — let me back up} Is it your
ie) «= As: No. Wait a minute. You said undergraduate? {1 responsibility to attend all the full pu blic Board
{17} MR. GILLEN: He did I believe. (17) meetings?
tis} =A: Yes. (1) A: Yes.
19] BY MR. ROTHSCHILD: (19)  Q@: What are the circumstances witere you will attend an
jz} | Q: Did you take any biology courses? [20] executive session mecting?
fe) A: No.I took a theory of science ] believe. fet} A: If requested by the Board to a d.
241 @: While you were an undergraduate? 122) @: Does anyone record what is walt: in the executive session
123} A: Yes. [23] meetings?
jes): That is the only science subject you can remember taking 4) A: No.
25] as an undergraduate? 125) @Q: Who developed the policy of nbt recording executive
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Page 49 Page 51
{1} is — that was added to the biology curriculum through {1} BY MR. ROTHSCHILD:
2) the October 18th resolution? iQ: _ Have you ever communicated to any newspaper that you
ts} A: Yes. Is) have been misquoted regarding the subject of the biology
(4)  @: Total discretion? (4) curriculum?
1) ~=— A: Total. 1s) MR. GILLEN: Objection, relevance.
fs} | @: Am I correct in understanding your testimony that 0 As No.
[7 teachers are not required to bring the Pandas book into mi BY MR. ROTHSCHILD:
[8] their classroom when they teach this unit? 1) + Q: Have you ever communicated to any newspaper that any
f9} | A: That's correct. 1s) other individual has been misquoted regarding the
[10} Q: Is anybody else besides teachers allowed to take those (iq biology curriculum?
(11) textbooks, the Pandas textbooks out of the library? (11) MA, GILLEN: Objection, relevance.
(12) A: Students. tq] A: Sorry. Could you ask that question again?
13] @: Mr. Nilsen, when | asked you about your prior (13) BY MR. ROTHSGHILD:
[14] experience, you talked about serving as Assistant 114] Q: Have you ever communicated to ¢ny newspaper that any
(15) Principal, Principal, Assistant Superintendent and (15) individual besides yourself was misquo’ ed or
(16) Superintendent in various school districts. (16) misrepresented in the reporting about the biology
(17) In any school districts that you have been an (17) curriculum?
(19) administrator in, has the subject of intelligent Design 118) MR. GILLEN: Same objectiori.
[19] be part of the curriculum? 119) A: Housed within the press release ip a sentence that says
f20) A: No. 20) many statements have been personal statements and
j2t} GQ: What about the subject of Creationism? 21] opinions from the media, community embers and Board
2) A: Not that I'm aware of. 2] members which are completely inaccurate or false. That
(23) @: ‘If 1 extend that question to any school district in {za} has been communicated publicly. -
(24) which you have taught, would your answer be the same? {24] BY MR. ROTHSCHILD:
25] A: Yes. j28] Qs ‘Is that the only way that that has been communicated?
Page 50 Page 52
1) @: What newspapers.do-you read as.a regular matter 22 (1) Ar Yes.
i A: The Patriot News and the two York County papers. 2 Q: Are you aware of anybody else involved with the biology
3}  Q: Do you read the two York County papers everyday? 13] curriculum, School District employes ¢r School Board
4) A: | read the — I have a secretary pull all r elated 4) members communicating to any newspaper that they have
(5) educational articles. [s) been misquoted or their statements srepresented?
16) | Q: Do those clippings include the articles that have been () MR. GILLEN: Objection, relevance.
[7] written about the biology curriculum issue during 2004? mm A: 1am sorry.Ask that question again.
3] A: Yes. (8) BY MA. rom
1s] | Q: Have you ever asked any newspapers to correct anything 1} @: Are you aware of anybody else ihvolved with this biology
19) that has been reported about the biology curriculum? [19] curriculum issue, School Board members or employes of
(14) MR. GILLEN: Objection, relevance. Answer, 111] the School District communicating to the newspapers that
[12] please. I'm sorry. (12) they misreported something or misqupted them?
(13) A: Ihave asked them to read the press release on the (13) As Yes.
[14] District web page. (44) @: Who has done that?
(15) BY MA. ROTHSCHILD: (1s) A: Mr. Bonseli and Mr. Buckingham!
(16) Q: Other than that, have you ever asked the newspapers to (16) | Q: What statements reported in the newspaper articles —
(17) correct anything reported about the biology curriculum? (17) A: I can’t speak to that.
(1q3 MA. GILLEN: Same objection. (18) MR, GILLEN: Objection, relevance.
19) A: I don’t remember. (19} BY MR. ROTHSCHILD:
(20) BY MR. ROTHSCHILD: 201  Q: How do you know that they cofamunicated that to the
[21]  Q@: Have you ever asked them to retract any item reported (21] newspapers?
24) about the biology curriculum? (22 A: They individually told me that they had talked to
23} «= MR. GILLEN: Objéction, relevance. (23) reporters about their misstatements and
jz) A: No. j24] misrepresentations.
[25] i25) MR. GILLEN: Whose misstatement and
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it) A: Not that I can remember. (7 A: (Witness complies.)
(2 @: Doyouremember any other School Board member bringing 2) Q: In the third paragraph, it says durin this past Monday
(3] up the subject of Creationism at any School Board 3) night’s Board meeting, Board members Bonsell, Noe!
(4) meeting? (4) Wenrich, and Buckingham spoke aggress ely in fair of
ts) A: Not that I can remember. 5) have a biology book that includes creation as part of
fs) ~Q: : If you can turn to the next page. ie) the text.
™m A: (Witness complies.) (1 Were you aware that the newspaper reported that?
13)  Q@: Do you see there is a paragraph which begins with the «OA: No.
19} words Assistant Superintendent Michael Baksa? 13] | Q: Do you recall any of those individupls speaking in favor
[10] A: Yes. (19) of a biology book that includes theories of Creationism
(14) @Q: And two paragraphs down from that, the article reports t11] as part of the text?
(12) that Mr. Baksa said that teachers may make reference to (12) A: No.
[13] Creationism in class. Do you see that? (131 @: Could you turn to the articic, the June 14th, 2004 York
(14) A: Yes. (14) Daily Record article? |
1g) @Q: Were you aware that — 1s) A: Are these in order?
116) | MR, GILLEN: Objection, hearsay. {16} @: They are in the chronological order, yes.
(171 BY MR. ROTHSCHILD: (17) A: Okay.
(1g) | Q: Were you aware that the newspaper reported that tq) Q: In the second paragraph, it is reported that at Monday's
{19} statement by Mr. Baksa? {19} School Board meeting, William Buckingham said as part of
eo, A: I don’t remember that, no. 20) a search for a new biology book, he andjothers are
2) @: Do you know whether Mr. Baksa made that statement? 21) looking for one that offers balance between Christian
fe ~—« A: don’t remember that. (22) views of creation and Daeatetheory df Evolution.
23} Q@: Doyou remember Mr. Baksa ever making any statements [23] Were you aware —
j24) about teachers making reference to Creationism in class? [24] A: That is not June 14th.
ps} A: No,I do not. (25) MR. GILLEN: He is looking at the second piece.
Page 58 Page 60
t] Q@: Would you turn to the next article which is a June 9th, 1] Turn the page.
(2) 2004 article from the York Daily Record? (2) BY MR. ROTHS HILD:
133 A: (Witness complies.) 13] Q: Sorry about that.
{4  @: Do you see at the bottom of the paragraph — it reports 14) A: There’s two 14’s.
{5} Board President Alan Bonsell disagreed saying there were [s} Q: Do you see the second paragraph?
(6) only two theories (Creationism and evolution) that could ie) «=A: Yess.
17) possibly be taught. Are you aware — 7)  Q:; Were you aware that the newspaper reported those
is) MA. GILLEN: Objection, hearsay. {3} statements by Mr. Buckingham?
9) BY MR. ROTHSCHILD: (1 As No.
{1q) + @: Are you aware of the newspaper repor ting that statement {4199 ~=9Q: Do youremember Mr.Buckinghamh making those statements?
(11) by Mr. Bonsell? ttt)
1g A: Ido not remember that, no. [12] stahding of what is meant by
(13) @: Do you remember Mr. Bonsell making that statement? (13)
4} A: No,I do not. [14]
ti} @: Do you remember Mr. Bonsell making any reference to (15) ‘
16} Creationism at any time in a Board mecting? tie) A: My sinderstanding is creation refers to the Biblical
177) A: Ata Board meeting, I do not remember that, no. 17] account of the origins of life.
tq) MR. ROTHSCHILD: Pat, as we go through these 118)  Q: Anything else?
{19} articles, you can have a standing objection to hearsay. (1a) A: No
20) I don’t agree with it, but you won't have waived it by 2) | Q: Do you know that to bea scientific proposition?
jet] not making it each time. fet) A: I do or do not. 1 have no commeht on that.
jeq) MR. GILLEN: Okay. {22}  Q: You don't have an understanding?
{23} BY MR. ROTHSCHILD: jea}_~—OA: No.
(24) Q: Could you turn to the next article which is a June 10th, 124}  Q: In the same article two paragra hs down, the paper
(25) 2004 article from the York Daily Record? (25). reports that Mr. Buckingham said this|country wasn’t

 

 

 

 

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Page 69 Page 71
{1} prepared that statement? 1) A: I didn’t want to be sitting in a meeting with you across
2 A: Mr. Baksa in conjunction with Board members and 2] the table in a legal suit. ©@
{3} teachers. 13] Q: Is that the only reason?
4) Q: Other than providing the teachers that statement which 3] At I believe it is a topic of discussion that shpuld be
i) they are required to read, have the teachers been given (5) discussed with parents, not the School District.
i] any other guidance about how to present this unit? ()  Q: What is it about Intelligent Design which is part of the
jm sOA: Yes. 71 school’s biology curriculum which makes it —
(3) | @: What other guidance? f@) MR. GILLEN: Objection, foundation,
9] A: If any student brings up the question of either any 9) characterization.
(19) other Creationism or any other origins of life, they (10) BY MR. ROTHSCHILD:
[11] have been directed not to speak to that, but to give (11) @: What is it about Intelligent Design that ohakes it a
{12) that information and that question directly to either [12] subject appropriate for discussion with parents, but not
[13] their parents and/or their own research. {13] in the school?
(14)  Q: Let me make sure I got that right. If any student (14) A: The school has decided that the curricullum should focus
15) brings up either Creationism or origins of life, they 15) on the Darwinian theory and not focus on othtr options
(16) are directed not to answer, but to instruct the students [16] due to time constraints.
(17) to ask their parents or do their own resear ch? (17) Q: Is that the only reason — is time constrdints the only
(18) A: Yes. [18) reason that the school has decided it should fgcus on
(19) Q: Have the teachers been given any other guidance besides {19} Darwin and not other options?
feo) that directive? 20) ~~ A: We are specifically, as the press release says, a
re) A: No. (21) standards driven curriculum and only ndaread the
rq @: Who gave the teachers that directive? (22) standards.
(23} «A: Me. j23) | @: What is the purpose of addressing this section of the
(24) Q: How was that communicated? 24) curriculum if it is not going to be discussed, rot part
125) A: November 24th, 1:05, this office, this room. 25] of the standards?
Page 70 9
(1) Q: Sitting around a table? (1) A: The purpose is there are individual students that have
(OA: Yes. fa] other opinions beyond the Darwinian. We did not want to
(a) @: Who was present for that meeting? a) be discrimination. We firmly believe that any
4) A: Mr. Baksa, myself, the Union President, Bill Miller, 4) individual has a right to their own beliefs. Wq do not
is) Past President, and the Science Department. {s] want to be discriminatory.
ts}  Q@: Did you instruct them how they — how they were required (9 «We are required to teach Darwin. We are diso
7 to answer any other kinds of questions by students 17 required not to be discriminatory.
e) relating to this unit? 1} | @: How do you know that there are indivdual students that
p) A: They were instructed not to answer any questions dealing tg} have other opinions besides Darwin's?
10) with the origins of life. Any other quesfiens in 110 “A: I have talked to other students.
111) Darwinian Theory or anything else that is discussed is 111) @: Is it your understanding that the individual opinion
[12] within their own domain. [12] that these students hold different from Darwin's theory
(13) Q: Did you give them any instructions about how to answer 13) is Intelligent Design?
[14) questions about the subject of Intelligent Design? 4) - MR. GILLEN: Objection, foundation.
tis} As Yes. (15) A: Could you ask that question, again?
(16)  Q: What instructions were those? 16) BY MR. ROTHSCHILD:
(17) A: Not to discuss it. Report — any student requesting (17) _Q: Is it your understanding that the individual beliefs
(18) that is to immediately go back to either their parents 18) that these individuals hold different from Darwin's
[19] or their own research, not a topic of discussion¢ [19] theory include Intelligent Design?
t2oq)  @: Why? (20) A: Some, yes.
pt) A: Why was Mr. Miller the past Pr esident? 21) @: When did you become aware that students believed in
jz) «GQ: No. Well done. (22) Intelligent Design?
21 A: ‘J figured at 11:30, you needed it. 23] ‘A; Since I have been in education. @
24] @: Why did you give the teachers the directive not to 24] Q: Mr. Nilsen, didn't you testify that the first time you
25) answer any questions about Intelligent Design? 25) became aware of Intelligent Design was July, 2004?
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(At Three and a half years. (1) A: No.1 am sorry.That is over 30 year$ ago. That is
2 Q: When you were Assistant Superintendent, did you have 2) all 1 remember.
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(6) you do? 1)° A: No. ,
™ A: Director of Curriculum Instruction. m QF often does the Dover Area ool. Board meet?
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(9) A: No. Big Springs School District. Bi f tend ail
119) | @: How long did you hoid that position? ji) As Yes: .
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21) for three years, then returned for four. fe} Qs In place of the Acting Secretary?
22} OQ: When you were in the other District, were you also jez] —- «A: Yes.
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Page 26 | Page 28
{)) Principal, were you ever a schoolteacher? ted? : :
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m  @: Where did you get your degree? m A: Don’t know. It happened prior to me.
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113) Temple University. So I am actually Dr. Nilsen. (133 @: Do you attend those ‘sessions?
14 Q@: During any of your college and post graduate education, 14, Az Some.
(15) did you take any science courses? 5) Q: What are the — let me back up| Is it your
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(19) BY MR. ROTHSCHILD: (19) @: What are the circumstances wiere you will attend an
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2) Az No.I took a theory of science J believe. 2) ‘A: If requested by the Board to attend.
{223 @: While you were an undergraduate? "22 Q: Does anyone record what is said in the executive session
123). «As ‘Yes. [23] meetings?
(24) +‘ Q: That is the only science subject you can remember taking eA: No.
[25} as an undergraduate? [253  Q: Who developed the policy of npt recording executive
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()) is — that was added to the biology curriculum through ("i ‘BY MR: ROTHSCHILD:

(4) the October 18th resolution? 1 ‘GQ: Have you ever communicated to any newspaper that you

p} A: Yes. (a) have been misquoted regarding the subjett of the biology

4] @: Total discretion? 14] curriculum? ,

i} A: Total. ) MR-GILLEN: Objection, relevance.

{6} @: Am I correct in understanding your testimony that 0 ArNo.

{7| teachers are not required to bring the Pandas book into " BY MR. ROTHSCHILD:

(8) their classroom when they teach this unit? 9) : Have you ever communicated to

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Q: Is anybody cise besides teachers allowed to take those
textbooks, the Pandas textbooks out of the library?
(12) A: Students.
(13) Q: Mg. Nilsen, when I asked you about your prior
{14} €xperiefice, you talked about serving as Assistant

[10]
(11)

(15} Principal, Principal, Assistant Superintendent and

(16) Superintendent in various schoo! districts.

17) ‘TiYany school districts that you have been an

(18) administrator in, has the subject of Intelligent Design
119) be part of the curriculum?

    
  
 
 
 
 
  
   
  

newspaper that any
jg) other individual has been misquoted re; ing the
io) biology curriculum?

{14} MR. GILLEN: Objection, relevance.
[12) A: Sorry. Could you ask that question again?

{13} BY MR. ROTHSC ILD:

14) Qs Have'you ever communicated to:al ry: newspaper that any
ns i ‘individual besides yourself: was misquo

nted in the reporting about th

 

TN7y -curricuhim?’
(9). “MP GIEEEN: Saine objection:
A> Housed’ wittiin the press release is sentence that says

 

 

 
 
 

 

20) A! No. cand
(21) Q@:' What about the subject of Creationism? and:Board
(22) | A¥ Not that I’m aware of. curdte or false:That °
i233 «GE If T extend that question to any school district in of has Been Communicated ‘publicly. *.
(24) which you have taught, would your answer be the same? _ [24] “BY MAL ROTHSCHILD: -
(2s) AY Yes. (25) G¥Isthat the only way:thatthat-has Heen:communicated?
Page 50 Page 52
(1 asa eager mas | AB YEs.
eI rq «@: Are you aware of anybody else inyolved with the biology

3} @: Do you: read the two York: County papers everyday?

(4 A: l'read the — I have a secretary pull all related

(5) educational articles..

i §©6. GQ: Do those clippings inchide the articles that have been

[7] writtery about the biology curriculum issue during 2004?

1 )6—SCA Yes"

(9) GQ: Have you éver asked any newspapers to correct anything
[oy that fias been reported about the biology curriculum?
14] MR. GILLEN? Objection, relevance. Answer, -.
(12) please. 'm sorry.
(139 Ar} have asked them to-read the press release on the.
(14) District Web page:
(15)
(16)

BY MR. ROTHSCHILD:
‘Q: Other than that, have you ever-asked the newspapers.to
[177 Corféect anything réported about the biology:curriculum?
ie) | MR: GILLEN: Same objection:
A T'don’t remember.

[19}
{20} BY MR. ROTHSCHILD:
fet] G:°Have you ever asked them to retract any item reported

[22].about:the biology curriculum?

3] MR: GILLEN: Objéction, relevance.
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(25)

School Board
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8) BY MR. ROTHS
jm Q: Are you aware of anybody else i
(19) curriculum issue, School Board

 

  
  
   
 
 
 
 
 
  
  
 
 
 

ILD:
Ived with this biology
's or employes of
{14} the School District.commounicating to the newspapers that
112) they misreported something or misquo)

pas Ar: Yes.

14, Q: Who has done that?

is) A: Mr. Bonsell and Mr. Buckingham.

(16) | @: What statements reported in the pewspaper articles —
7) A: I can’t speak to that.

1133 MR. GILLEN: Objection, relevance.

19) BY MR. ROTHSCHILD:

209} @: How do you know that they co:
[21] newspapers?

122 A: They individually told me that they had talked to
[23] reporters about their misstatements
[24] misrepresentations.

—— .

fs} MR. GILLEN: Whose misstatement

unicated that to the

 

 

 

 

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Df 22

Richard Nilsen
January 3, 2005

 

 

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A: Not that I can remember.

 

{) A: (Witness complies.)

 

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i @: Doyouremember any other School Board member bringing f2) Q: In the third paragraph, it says during|this past Monday
(3) up the subject of Creationism at any School Board (3) night’s Board meeting, Board members Alah Bonsell, Noel
i4] meeting? 14) Wenrich, and Buckingham spoke aggressively in fair of
« A: Not that I can remember. (| have a biology book that includes creation|as part of
(¢} | Q: If you can turn to the next page. 16) the text.
7 ‘A: (Witness complies.) 7] Were you aware that the newspaper reported that?
i} Q: Do you see there is a paragraph which begins with the 13] «=A: No.
'] words Assistant Superintendent Michael Baksa? 1}  Q: Do you recall any of those individuals speaking in favor
iq) A: Yes. {10} of a biology book that includes theories off Creationism
{1} Q: And two paragraphs down from that, the article reports {11} as part of the text?
(12) that Mr. Baksa said that teachers may make reference to 112) As No.
13] Creationism in class. Do you see that? 13] @: Could’ you turn to the article, the Juhe 14th, 2004 York
(14) As Yes. {14] Daily, Record.article?
15)  Q: Were you aware that — ys) A: Are these in order?
16) MR. GILLEN: Objection, hearsay. (4) Q: They are in the chronological order] yes.
07) BY MR. ROTHSCHILD: 117) A: Okay.
(18) @: Were you aware that the newspaper reported that (12) Q: In the second paragraph, it is reported that at Monday's
{19} statement by Mr. Baksa? (19, School Board meeting, William Buckingham said as part of
feo) = A: I don’t remember that, no. j2o} a search fora new biology book, he and athers are
1) @: Do you know whether Mr. Baksa made that statement? 21} looking for one that offers balance betwern Christian
eq) A: T'don’t remember that. (22) Views of creation and Darwin's Theory of|Evolution.
jz3} | Q: Do you remember Mr. Baksa ever making any statements 233 Were you aware —
24) about teachers making reference to Creationism in class? 24) A: That is not June 14th.
te) A: No,I donot. 5) MA. GILLEN: He is looking at the second piece.
Page 58 Page 60
(4) @: Would you turn to the next article which is a June 9th, 11] Turn the page.
(21 2004 article from the York Daily Record? 2) BY MR. ROTHSCHILD:
p} As CWitness complies.) Bp)  Q: Sorry about that. ,
14] @: Do you see at the bottom of the paragraph — it reports 4) A: There's two 14's.
i} Board President Alan Bonsell disagreed saying there were ) | @: Do you see the second paragraph?
{6} only two theories (Creationism and evolution) that could io) A: Yes.
1 possibly be taught. Are you aware — ™  @Q: Were you aware that the newspaper reported those

13) MR. GILLEN: Objection, hearsay.
pI BY MR. ROTHSCHILD:
19) - Q: Are you aware of the newspaper reporting that statement

111) by Mr. Bonsell?

[12] A: I do not remember that, no.

13) @: Do you remember Mr. Bonsell making that statement?
114) A: No, I do not.

tts} | @: Do you remember Mr. Bonsell making any reference to

[16] Creationism at any time in a Board meeting?"

17, A: Ata Board meeting, I do not remember that, no.

19) MR. ROTHSCHILD: Pat, as we go through these

(19) articles, you can have a standing objection to hearsay.

120} I don't agree with it, but you won't have waived it by

{21} not making it each time.

zz] MR. GILLEN: Okay.

[23] BY MR. ROTHSCHILD:

24) Q: Could you turn to the next article which is a June 10th,

{25) 2004 article from the York Daily Record?

(10)
(11}

(8] statements by Mr. Buckingham?
tp <A: No.

A: No.

     

 

 

nGing Of what isinean

Q: Doyouremember Mr.Buckingham making those statements?

ifit by

fo) QQ: Do you know that to bea scienuifc proposition?

(21) A: Ido or do not.] have no comment on that.

(233  @Q: You don’t have an understanding

(23) A: No.

(24) Qs In the same article two paragrapi}s down, the paper

(25) reports that Mr. Buckingham said this cpuntry wasn't

 

 

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Page 71
1} pitpared that’statement? Tea I didn’t want to be sitting in a meeting with you across
OA: Mr. Baksa i if.conjunction with Board members and 1 the table in a legal suit. @
[a1 teachers:  —-Q: Is that the only reason?
4 @: Other. than. pr oviding the teachers that statement which 14) As [ believe it is a topic of discussion that shold be
i) they-areé. required. ‘to: read, have the teachers been. given: 6) discussed with parents, not the School District.
(6) any.oth 8 dance about how to present. thiis unit? 6) Q@: Whatis it about Intelligent Design which if part of the
m As Yes. mm school’s biology curriculum which makes it —
ja] @: Whiat other guidance? - i) MR. GILLEN: Objection, foundation,
) A: If any student brings up the question of either any {9} characterization.
{tg} othier Creationism or any other origins of life, they. 110) | BY MR. ROTHSCHILD:
(11) have. been directed not to speak to that, but to give (11) Q: What is it about Intelligent Design that makes it a
(121{8tat: information and that question directly to either (12) subject appropriate for discussion with parents, but not
(13) théir parents and/or their. own research; {13] in the school?
114) Q: Letme make sure ] got thatright. If any student ; (14) At The school has decided that the curriculujn should focus
(1) brings up either Creationism or origins of life; they: 115) on the Darwinian theory and not focus on othes options
16] are: ed‘not to answer, but to.instruct the students _ 16) due to time constraints.
117) to ask.their parents or do their own research? 17) Qt Is that the only reason — is time constraints the only
(18) A: Yes. {18) reason that the school has decided it should foqus on
(19 «= QQ: Haye. the teachers been given any other guidance besides © {19} Darwin and not other options?
feo}. that directive? eo) «= A: Weare specifically, as the press release
(21) A: No, 21) standards driven curriculum and only te
243 Q: Who gave the teachers that directive? — 22) standards.
3} «OA: Me: . 123]. @: Whatis the purpose of addressing this saction of the
i244 @: HOw-was that communicated? je4) curriculum if it is not going to be discussed, ndt part
es) A: November 24th, 1:05, this office, this room. (25) of the standards? _
Page 70 —
{) —Q: Sitting around a table? i) As The purpose is there are individual studqnts that have
fq) A: Yes... . iq other opinions beyond the Darwinian. We vale ‘want to
is] | Q: Who-was present for that meeting? , fa) be discrimination. We firmly believe that any
4) A: Mr. Baksa, myself, the Union Pr esident, Bill Miller, 4) individual has a right to their own beliefs. We fo not
F [5] want to be discriminatory.
(6) We are required to teach Darwin. We are
™ required not to be discriminatory.
1s} Q: How do you know that there are individual students that
js} have other opinions besides Darwin's?
i109) «=A: : I have talked to other students.
11) Q: Is it your understanding that the individual opinion
{12 that these students hold different from in's theory
{13) is Intelligent Design?
(14) MR. GILLEN: Objection, foundation.
19 ~—- As Could you ask that question, again?
116) Q: What instructions were those?:.. 16) BY MR. ROTHSCHILD
117) A: Not to discuss it. Report — + any. student requesting 117] Q: Is it your understanding that the indivifual beliefs
jat is to. immediately go back to cither | ents, {18) that these individuals hold different from Daywin's
tte di [19] theory include Intelligent Design?
(209 =: Why? jz} + A: Some, yes.
1) A: Why was Mr. Miller the past Pr esident? 2) | Q: When did you become aware that students believed in
24 @: No. Well done. (24) Intelligent Design?
123) ~~ A: | figured at 11:30, you needed it. 123} A: Since I have been in education. ©
{= Q: Why did you give the teachers the directive not to { fea) Q: Mr. Nilsen, didn’t you testify that the fifst time you
(25) answer any questions about Intelligent Design? (25) became aware of Intelligent Design was July 2004?

 

 

 

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00009
1

00011
1Q

2

3A
4Q
5

6A.
7Q
BA

24Q
25

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correct three of the districts -- or | am sorry ~
three of the schools and which biology books they were
using.

What was your role in 2004 in the work of the curriculum
committee's to select or recommend, rather, new
textbooks in the School District?

My role as Superintendent were to place the book that
Mr. Baksa as Director of Curriculum Instruction -- to
place his recommendation on the Board agenda.

It sounds like your role is passive. You simply take
whatever Baksa gives you and put it on the agenda
without making any judgments about whether it is an
appropriate recommendation; am I right about that?

Passive to the extent of whete Mr. Baksa in his capacity
makes the recommendation. In this case and in most
cases, his recommendation has been put on where I have
not questioned his recommendation beyond the fact that
did he follow procedure. And when he communicated to me
he did. it was placed on the agenda.

Mr, Baksa described some of the work that be did with
the eurriculam committees in the summer of 2004. !
believe trom his testimony that this inquiry to the
parochial schools (ollowed a June mecting of the School
District Board when the biology textbook issue was

discussed

Richard Nilsen 4/14/05 (Day 2) Page 9

Did you make any notes yourself of the discussion of the

biology textbook at that June Board meeting?

Na.

Do you have a practice of making notes during Board
meetings?

Yes.

What do you do with those notes?

All the notes { take are actions the Board has requested
me to do and/or any changes in future agenda items.

Once those items have been completed, those notes are
thrown out.

Did you make notes of the discussion of the biology
textbook at the June meeting?

No.

Did you have any conversation with Mr. Baksa after that
meeting about the actions that should follow in
connection with Mr, Buckingham's concems or any other
discussion that happened at that June meeting?

Yo.

What was that discussion with Baksa?

My discussion with Mr. Baksa was he had to decide what
direction he was going to go with as it related to the
textbook and when the textbook decision was to be made

At that time, I mean at the time of your discussion with

Mr. Baksa, what did you think the directions were that

Richard Nilsen 4/14/05 (Day 2) Page 11

00010
1
2A.
3Q

00012

2A.

96 Q.

20
2

22 A.

23
24
25

Were you at that School Board mecting”

Yes.

  

Do you recall ike discussion about biology tex
the high school?

{remember the discussion, the specifics. Tam not sure -
Lremember all of them

 

 

What do you remember of the discussion?

 

the texthook and was interested in looking ai other
options.
What do you recall he said about his concerns about the

 

1 belive he coremunicated his dissatisfaction with how

fog tee

the Darwinian ‘Theory of Evolution was presented in the

 

  
  

Was ‘nis dissatisfaction with bow the Darwinian Theory
w 7 presented, of oc was his dissaisfction with the |

abgeice of olkersheory being presented? ,
My only recotection is how the Darwinian Theory was

 

 

presented.
What did be 5: ; Bout his dissatisfaction? —
He documented ~ mod again ibe documentation I believe-

 

 

sing prepen in te book. Beyond Gt dowt
recollect what was specifically stated and/or written

Richard Nilsen 4/14/05 (Day 2

he needed to consider?

I think he needed to consider answering whatever
concerns Mr. Buckingham and/or any other Board member
had with the present recommended book Miller and Levin
Biology.

Lunderstand that. But what did you think his options
were? You referred — and [ am using the word options
‘You referred to he needed to decide what direction he
was going to go in. That suggests to me that there

were — there was more than one direction available to

Baksa.

What did you have in mind when you had that
conversation with him?
I don't recommend — my apologies. I don't recollect

the full conversation, but obviously, there would be

two. One would be to continue the conversation on the

current book. Or two, look for other options that

possibly anybody and everybody would be satisfied with.
Did you give him any suggestions for how to find out
more about other options than simply persisting with the

Miller and Levin book?

Again, I don't remember any specific. 1t would not be
out of character for me to tell him to call and make

sure he has contacted every other district and everyone

he knows of to see if there would have been another

Richard Nilsen 4/14/05 (Day|2

~

 

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00017
1 A. [will clarify your question. The family consumer

2 science book was content issue based on the fact that

3 they thought the content was already in our curriculum

4 and didn’t see the reason to purchase another book that

5 had the same content.

6 Q. Okay.

7A. Notspecifically along the same lines, but along the

8 same general conversation. The District gets a donation
9 from the county on a book pamphiet that we give to our
10 students that bas a number of agencies listed in it, and

W a Board member and a parent had a considerable concern
12 ‘on the information that was in the book, specifically

13 dealing with comments dealing with sexual education and
14 issues concerning specific agencies that was in there.

15 To the point of where we ended up sending home

16 information prior to the students receiving the books,

17 as well as a discussion of whether to even continue

18 handing out the individuat books

9 And through my experience, not only in this

20 district, but other districts, any time we have adopted

241 ahealth curriculum, there has always been conversations
22 zeroing in on what is and what is not caught as it

23 telates to the curicuium.

24 Mr. Bonsell and I had conversations and I believe

25 a third party, but nonetheless | believe Me. Bonsell has

Richard Nilsen 4/14/05 (Day 2) Page 17

cong
1 placed in our planned courses That is a routine

2 matter.

3 BY MR. SCHMIDT

4Q  Atthe time of the June meeting in 2004, had you ever
5 heard of the notion of Intelligent Design?

6 A. Notthat i can remember, no

7 Q. Do you remember your first contact with the Discovery
8 Institute? Aad by you in this case, | am teferring to

9 you personally.

10 A. Me personally, yes.

11 Q. When did that contact take place?

12 A. The fait of 2004.

13 Q Where did the contact take place?

14 A Over the phone.

15 Q Who else was involved in the telephone contact?

16 A Noone else.

17 Q. That wasn't meant to be a trick question. You were on
18 the phone. Who clse was on the phone; somebody from the
19 Discovery Institute?

20 A. Yes.

21 Q. Do you remember who it was?

22 A. No, i don’t

23. Q Do you know someone named Seth Cooper?

24. A. Yes.

25 Q There is a deposition exhibit that has previously becn

Richard Nilsen 4/14/05 (Day 2) Page 19

00018
1 also talked to Mr. Baksa about the health curriculum in

2 our education dealing with abstinence.
3 [know Mr, Baksa is meeting next week, if not the

4 following week, with another Board member dealing with

§ our drug and alcohol curriculum, specifically where

6 inhalants are being taught.

7 {€ your question is does the Board hold

8 discussions on multiple issues with content beyond his

9 individual issue, my experience is yes.

10 Q. On those issues where the Board has either demonstrated
il or expressed a keen interest in a decision like the

12 distribution of a pamphlet, or the selection of a

13 textbook, is it your practice as Mr. Baksa's supervisor

4 and as the Superintendent of Schools to basically say we
15 have got to pay attention to this, get it right, be sure

16 that we do what we need to do to be giving all the

17 information to the Board and do the best job we can?

18 ‘You don't treat it as a routine matter, do you?

19 MR. GILLEN: [ object to the form.

20 A. think it is a routine matter. [ think the routine

21 mutter of the Board's reviewing curriculum and making
22 comments about curriculum is routine. Board members
23 historically have had conversations about what is in the
24 curriculum, and their recommendations on what should be

25 in the curriculum, and what type of curriculum should be

Richard Nilsen 4/14/05 (Day 2)

00020
1 marked as Plaintiff 38 which 1 would ask you to take a

2 jook at?

3 A. (Witness complies.)

4 MR. GILLEN: Tom, I mentioned to Eric yesterday
5 that 40, I have a problem with in that ! am not sure if

6 it wasn't inadvertently provided. 1 need to go back to

7 the office and check on that

8 MR. SCHMIDT: Okay.

9 MR. GILLEN: Thank you.

10 BY MR. SCHMIDT:

11 Q._ Dr. Nilsen, have you seen this document before today?
12 A. Ihave reviewed over 2,000 docurnents. Does this jump
a out at me? No. Would | have reviewed it before? 1

14 believe so.

15 Q Do you recall seeing this e-mail at about the time it

16 was sent in June of 20047

17 A. Notto my recollection, no.

18 Q. Were you aware in June of 2004 that Seth Cooper or
19 anyone from the Discovery Institute was reaching out and
20 tying to contact Mr. Bonsell?

21 A. Not to my recollection, no.

22 Q. Ifyou would, look at the ¢-mail address at the top of
23 Plaintiffs 38. 1s the ¢-mail address for Mr. Bonscil

24 one that is provided by the School District?

25 A. Yes.

Richard Nilsen 4/14/05 (Day

 

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00049
1 that teachers were not lo teach intelligent Design?

2. A. Lamsorry. | don't understand that.

3Q Okay. Why weren't the teachers to teach Intelligent

4 Design?

5 A Based an the tact thal it is not ane of the standards

6 Q. My reading of the curriculum documents tcils me that the
7 amount of time devoted to Evolution 15 19 days"
8 A. No.

Evolution”

9 C How much time is devoted to

      

debate is the origin of the creation

 

14 or began:
is Biblical references. but the beginning part of man
16 Q Of mas?

ITA Yo

if you would, not using

 

  

 

18 Q. ‘Whats Darwin's opinion about the origin of life as you
19 understand it? 1 am now looking al the next sentence.
20 A. I don’t know.

21 Q. What did you mean when you put that sentence in the
22 release?

23 A. The Board believes that there are other options and

24 discussions on Darwin's opinion on the origins of life.

25 and I have communicated that.

Richard Nilsen 4/14/05 (Day 2) Page 49

00051
1 There is the Big Bang Theory of where the

2 beginning of time was created out of an explosion in
3 some capacity. And there is also the conversation that
4 there is a Godlike entity that created earth and

5 everything on iL.

6 MR. SCHMIDT: Off the record. please.
7 (An off-the-record discussion was had.)
8 (Plaintiffs Exhibit 43 was marked.)

9 BY MR. SCHMIDT:

10 Q. Dr. Nilsen, have you had an opportunity to review

Al Plaintiffs Exhibit 437

12 A. Yes, Lhave.

13 Q. Identify the document, please.

14 A. The document is Administrator's Biology Statement in

1S Biology Class.

16 Q. Bates numbered 10991100. Do you know who prepared this

17 document?

18 A. Yes
19 Q. Who?
20 A. Idid.

21 Q What use was made of the document?

22 A. The document was read in total by either myseif or Mr.
23 Baksa.

24.Q. Verbatim?

25 A. 99.9 percent.

Richard Nilsen 4/14/05 (Day 2) Page 51

00050
1 Q. The sentence reads the School Board has noted that there

2 are opinions other than Darwin's on the origin of

3 life -- end of quote.

4 Do you know what Darwin's opinions on the origin

5 of life are?

6 A. No.

7.Q Did you make any inquiry about whal the Board had in
8 mind when it said there are other opinions?

9 A. No. But my context was some Board members differed with
{0 Darwin's concept of origins of life and communicated
i such publicly.

12 Q. Why did you capitalize origin of life in these

13° sentences?

14 A. [have ne idea.

15 Q. Are you aware of any opinions other than Darwin's

16 opinion on the origin of life, whatever that may be?
7A Yes.

18 Q What are the other opinions that you are aware of?

19 A. There is the opinion — and I have no idea how to spell
20 it -- Plantaria, whatever it is, where there are aliens

2 that have come in some capacity. The whole conversation
22 dealing with the pyramids and the structure that the

23 earth was created by an outside force, whatever that --
24 either alien as defined as an entity beyond homo sapiens

25 on earth.

Richard Nilsen 4/14/05 (Day 2

00052
1 Q Was it the plan to stick --

2. A. Asclose as possible.

3 Q. Paragraph five on page two of the document includes a
4 statement that there will be no other discussion of the

5 issue and your teachers will not answer any questions on
6 this issue.

7 What is this issue that is referred to in that

8 paragraph?

9 A. The issue of Intelligent Design.

10 Q. When you prepared what has been marked as P-43, what wag
Ml your understanding of the difference between the

12 Intelligent Design explanation of the origin of life and
{3 Darwin's explanation of the origin of life?

14 A. When I prepared the document?

15 Q. Right.

16 A. Atthat time, I don't think I bad an understanding.

17 Q. Do you recall when you prepared the document?

18 A. Yes.

19 Q. When?

20 A. It would have been in mid January.

21 Q. Do you have an understanding now?

22 A. Ihave somewhat of an understanding. [ don't think [
23 have a total understanding.

24.Q. ‘can't ask for perfection, but whatis your present

25 understanding?

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00053

1
>

3

A Intelligent Design refers to an order Darwin refers to

randomness

Q And how do those two nolions thal you have just stated

have lo do with the ongin of life”

A Asatrelates to Darwin there could bee randomness 1

 

 

6 think his theory 1s survival of the fittest. And

7 Inteihigent Design has a specific design to it, not a

& Tandommness

9 Q [think | took that from the order versus random. But

10 what do those two notions have to do with what you have
A used the phrase and il as used in this document the

2 origin of life, do you have any understanding of the

i3 relationship between the two concepts you have referred
i to and the origin of life?

15 A Not be-ond what} have sad. 00

16 Q You have been an educator for going on 2 years’

ITA Twenty-nine,

18 Q 1 ine yeats. Cam you secall any instance in your
19 career x as educator when students bave been directed
20 that Ibey are not io discuss topics. and teachers are
2t not permitted lo comment on topics with students’
22 MR GE No Obyect wo the form
2A. Ya

24 BY MR SCHMIDT
25 Q. an vou give me another circumstance besides this une?
Richard Nilsen 4/14/05 (Day 2) Page 53
00055

1 diversity Have | read ine top {ine correctly”

2 A That's correct

3 Q. And it appears, for instance. that the seferences to

4 Darwin. Darwin's Theory of the origin of specics and

5 issues involving Evolution are spread throughout this 19
6 day period”

7 A Thatis what is writen here. correct.

8 Q. As! understood your testimony a few moments ago, 1 was
9 the-Theory of Evolution was limited io two days m the

10 biology curriculum Did § mishear vour testimony?

11 A. You did not

12. Q Can you esplain why you say ro days and this appears to
i3 say 197

$4. A. The ugliness thai cvery Superinicndent and Asstsianl

15 Superintendent has is the fact that teachers tcach not

16 solely the outline of the planned instruction This

7 obviously is the case

18 Because wh: A asking the specific teachers how many
19 dave they apes Gh the theory. they said wo Solam

20 iollowmg what they have told us is the veality versus

Mu whai is m the planned course Meaning tis document ts
22 obviously the instruchonal guide. Gul not what is in

23 practice.
24 As Supenmiendent are you concemed that ihe cusde’s

25 call for 19 days of snssruction and your (eachers are

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00054

t
2
3
4

5

12
13 in any detail, just let me know This is 4 document
14 that contains Bates numbered pages 944 through 951 Let
15 me ask you to tum first to page 946
16 A. (Wittiess complies.)
17Q De you recognize this document”
18 A “Yes.
19 Q. Is this the Biology One Curriculum that was in place
20 before October 18th, 20047
21 A. ‘Tortie best of my ability, yes.
22 Q. I seed your help to understand it As | read this
23 document, it suggested lo me that there were 19 days out
24 of the biology curriculum devoted to natural selection.
25 the mechanism of Evolution and the origins of bio
Richard Nilsen 4/14/05 (Day
00056
1 telling you they are only devoting (wo?
2A. . think you noted my introductory comment of the
3 ‘ugliness of it, and the answer is yes. Whether the
4 planned course is misdone or the instruction is misdone.
5 L cant speak to that Bul obviously, both should be
6 sitala.
7 Q. “Back to page 944, have you seen this memorandum before
8 today, the memoranduia from Trady Peterman 10 Mr. Baksa,
9 Mr. Redding and Mrs. ‘Spahr dated April 1.2003
10a Ye”
IL Q tamassuming you saw it in the course of preparing
(2 documents for discovery in this case, but did you sec it
3 about the time it was issued?
14 A. [have so recollection of that except to say that it is
1S carbon capled wine, and { would expest
16 | aoa oa
179 Weekiee
1A Yes.
19 Q. Do you recall doing anything in response to or lollawing
20 receipt of this memorandum?
212A No”
22 You don't recall any discussions with Mr Baksa or Mrs.
23° Spahr about it?
24,4 No. Let me tephtase that. About this specific memo
25 with Mr. Baksa?"-

A Polincal affiliation, sexual education, issues within
the cornmanity that are highly politically charged

Q_ And religion”

A. And religion.

Q Did any parents of students ever contact vou after the
Stalement was read?

A Not that i remember, no

Q tan going to show you a document that has been marked
previously as Plaintiffs 9. Have you had an opportunity
tg took at Exhibit P-9°

A Lookatit: Read il in total, no

© Let me ask you some questions. Ifyou need to teview it

     
 

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7 And secondly, this conversational capacity would —
8 cad up being between the conversation of Mr. Baksa, Dr
Ae eS va

  
  
 
 

IL Q. (imigandesstoad that answer. .

‘Mas, Spaky nisquoting Mr. Bakss. it would
B be Me fake reso go comsrunicate to Dt

14 Reman of fo minpcan.

15 2 “Do you knw whether he did that or nor’

16 A. No, Ido not know that.

 
  

17 Q. As ianderstand «what happened in response to the two
18 sentences that appear at the beginning of -- | am sorry

19 -- three sentences that appear at the beginning of this

20 exhibit, Dr. Peterman is disciplined for having made a

21 statement that she heard from Mrs. Spahr, but Mrs Spahr
22 is not disciplined for having made the original

23 statement which you and Mr. Baksa think is untrue?

24 MR. GILLEN: Object to the form.

25 A. [can speak to the first which is yes. [ can't speak to

Richard Nilsen 4/14/05 (Day 2) Page 61

00063
l no.

2 Q How did you reach the determination to give Dr. Peterman
3 a bad evaluation because of what appears in this first

4 paragraph without doing an investigation —

5 MR. GILLEN: Object to the form.

6 BY MR. SCHMIDT.

7Q. -- with Mr. Baksa?

8 MR. GILLEN: | am sorry.

9 MR. SCHMIDT: That is all right. [ paused.

10 A. The evaluation was not solely based on this individual

Ww action. it was significantly broader obviously than

12 this. And the behavior reflected not solely the

13 information, but the process of the information.

14 BY MR. SCHMIDT

15 Q Did you ever instruct Dr. Peterman about how she was to
6 behave of interact with the Board at Board meetings?
ITA. Yes

18 Q. What instructions did you give her?

19 A. The Board directed me to direct to her that when she

20 came to Board meetings. that she like every other

21 individual was to be recognized prior to coming to the

22 podium, was to direct her comments to the Boad and not
23 the constituents.

24 She was also not to raise her voice. She was also

25 not to pound the podium. And she was to be or point,

Richard Nilsen 4/14/05 (Day 2) Page 63

00062
1 the other point based on the fact that I have not an

2 understanding of what Dr. Peterman did and what Mr.

3 Baksa did with the individual teacher.

4 Q._ Did you ask Dr. Peterman what she did in her supervision
5 of Mrs. Spahr about this subject?

6 A. No, not this subject, no.

7 Q Is ityour position as the Superintendent that when

8 somebody that you are evaluating repeats the statement
9 of another person, if that statement tums out to be

10 untrue, that the person you supervise bears the

tL responsibility for that untruth?

12 Let me withdraw the question. It's too big. 1

13 have already got your answer on it [ understand what
14 you did.

15 MR. GILLEN: Thank you, Tom.

16 BY MR. SCHMIDT:

17 Q._ Did you have any further discussion with Mr. Baksa about
18 the subject of his reported conversation with Mrs. Spahr
19 on the topics that are addressed in this memorandum?
20 A. Yes.

21 Q. When did you have that conversation with him?

22 A. Over the past year.

23 Q. Did you have a conversation with him around the time
24 that this memorandum was issued in April of 037

25 A. Ima generat sense, yes. As it relates 10 specifics,

Richard Nilsen 4/14/05 (Day 4)

00064
$ not wander off a point.

2 Q._ Did you give her those directions in writing?

3A. Yes.

4 Q Is that the current state of her instructions with

5 Tespect to Board meetings?

6 A. She is no longer employed.

7.Q. Was she fired?

8 A. No. She has since gone to another district where she is
9 in jitigation with the Superintendent because the

10 Superintendent put her on leave, as the prior district

MW also put her on leave. So out of three districts, two

12 gut of the three, she was put on leave for behavior

13. unbecoming to an administrator.

14 Q. [would like to show you a document that has previously
is been marked as Plaintiffs 28. 1 just have a quick

16 question or two about this.

17 Dr. Nilsen, at feast initially, you can probably

18 answer my question by looking at the first page. If

19 someone else has already asked this, 1 apologize to you.
20 But is this your handwriting on this document?

21 A. No.

22 Q. Do you know whose it is?

23 A. Without certainty. But it does took like Mr Baksa's.
24 It is neater than mine.

25 MR GILLEN: Off the record.

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00093
1 activistic stand against what the Supreme Court had

2 already done. There was a conversation we had about

3 what was currently being discussed in the national

4 paper, as well as what impact the Board — I am sorry ~

5 what impact the Supreme Court had directly on schools.

6 Q Okay. Let me just go back to explain one line of

7 testimony you gave earlier this morning. | had asked

8 you a couple of questions about the origin of life

9 debate and what your understanding is of origin of life.

10 As I reflect back on your testimony, | am not sure

Wl {understand what you mean when you refer in the

12 documents you have written and what you are

13 understanding is about the policy of the Board when it

14 refers to origin of life.

15 If you will bear with me fora minute, could you

16 explain it again?

17 A. My apologies, but I think you asked three different

18 questions

19 Q. Lamsure I did. That is the topic ifyenwoukd, sell

20 ioe again what your anidetmanding i is, Dr. Nilsen’

 

   

22A
23 Q.
24
25

Richard Nilsen 4/14/05 (Day 2) Page 93

00095
( MR. GILLEN: | just have a few questions, ‘1om.

2 BY MR. GILLEN:
3Q. Mr. Schmidt asked you a few questions. One set of them
4 related to Plaintiffs Deposition Exhibit 9 which is that
5 memo from Dr. Peterman. Tom asked you did you take
6 action in light of that, and you said no.
7 Just to be clear on this point, at the time that
8 you received this memo, did Dr. Peterman have a lot of
9 credibility with you?
10 A. Zero.
11 Q. Was it in large measure because this memo came from Dr.
12 Peterman which explained your inaction?
13 A. Two things. One, first of all, | knew no one was
14 discussing either from the administrative standpoint, or
15 the Board standpoint, or Mr. Baksa's standpoint. or my
16 standpoint any discussion of Creationism. So a memo
\7 that generated and stated that there was a discussion of
18 Creationism had absolutely a non starter.
19 Secondly, as it related to Dr. Peterman, I didn't
20 believe anything she put in writing anyway. In fact.
21 one of the prior evaluations | had with her was to stop
22 putting things in writing because she would put things
23 in writing prior to knowing what actually was the
24 reality. And I had to spend time with her going back

25 and correcting what was on the record.

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00094 .
1A Leah atk foe he Bosal erage

2
3

 

19 si nek orev aca it “
20 sefiecting that understanding of what the teachers were

21 doing?
2A Yes
23 MR. SCHMIDT: All right. That is all [ have.

24 Thank you. | appreciate your staying through lunch to
25 get this completed.

Richard Nilsen 4/14/05 (Day 2|

00096
} She had a long history of putting things in

2 writing that were inaccurate that we had to go back and

3 correct.

4 She had dictated to the faculty that she no longer

5 would talk to any faculty members, and that the only way
6 she would communicate with faculty members is through
7 Department Chairs. And the only way that Department

8 Chairs could talk to her is if they requested a meeting.

9 And then in the middle of that year '03-'04, she

10 communicated the Department Chair, she would no longer
11 talk to them. So she generated information that was

12 tolally inaccurate in memo format.

13 So her credibility with me in any written format

14 was absolutely nonexistent. And eventually, it was

{5 reflected in the end of the year evaluations.

16 Q. Tom also directed your attention to Plaintiff Exhibit

i7 48. When | looked at it here today, [ noticed that it

18 said any future communication pertaining to

19 CreationisrvIntelligent Design intended for the Science
20 Department shall be in written form.

21 Is it accurate that the teachers when they

22 discussed Intelligent Design equated it with Creationism
23 in the way they have here in this memo?

24 A. Yes. There was never any communication ever on

25 Creationism. And they had a behavior of equating both,

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1 correct, three of the districts — or I am sorry ~
2 three of the schools and which biology books they were

1 3 using.
‘What was your role in 2004 in the work of the curriculam

5 comanitier’s to select or recommend, rather, new

6 textbooks in the School District?

TA My role as Superintendent were to place the book that
8 Mr. Baksa as Director of Curricukum Instruction -- to

9 place his recommendation om the Board agenda.

10 Q. i sounds like your role is passive. You simply take

11 whatever Baksa gives you and put it on the agenda

12 without making amy judgments about whetber it is an

vB appropriate recommendation, ava I right about that?
14A. Passive to the extent of where My. Baksa in his capacity
15 makes the recommendation. In this case and in most

16 cases, his recommendation has been pet on where I have
17 not questioned his recommendation beyond the fact that
18 did he follow procedure. And wheo be communicated to me
19 he did, it was placed om the agenda.

 

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00011
1Q Did you make any notes yourself of the discussion of the

2 biology textbook at that June Board meeting?

3A No.

4Q. Do you have a practice of making notes during Board

5 meetings?

6A Yes.

7 Q. What do you do with those notes?

8 A. All the notes [ take are actions the Board has requested
9 me to do and/or any changes in fature agenda items.

10 Once those items have becu completed, those notes arc
ll thrown oul

12 Q. Did you make notes of the discussion of the biology

13 textbook at the June meeting?

14 A. No.

BQ Did you bave any conversation with Ms. Baksa after that
16 mecting about the actions that should follow in

7 connection with Mr, Buckingham’s concerns or any other
18 discussion that happened at that June mecting?

WA Yes.

20 Q. ‘What was that discussion with Baksa?

2A My discussiow with Mr. Baksa was be had to decide what
22 direction be was going to go with as it related to the

23 textbook and when the textbook decision was to be made.
4 Q. At that time, I mean at the tina of your discassion with
25 Mr. Baksa, what did you think the directions werc that

Richard Nilsen 4/14/05 (Day 2) Page 11

00010
1 ‘Were you at that School Board mecting?

2A Yes,
3 Q Doyourécall the discussion sbost biology
4 = teehighschool?.

 

 

ng What ies you recall ie said about his concerns about the é

 

Richard Nilsen 4/14/05 (Day 2)

00012
1 he needed to cousider?

2 A. Ithink be needed to consider answering whatever

3 concerns Mr. Buckingham and/or any other Board member
4 had with the present recommended book Miller and Levin
5 Biology.

6 Q. lunderstand that. But what did you think his options

7. wese?’ You referred — and 1 am using the word options.

8 —Youreferred to he needed to decide what direction he

9 was going to go in. That suggests to me that these

10 were — there was more than ope direction availabic to

ot

u Baksa.

12 ‘What did you have in mind when yor had that

13 conversation with hin?

14 A. 1} dow't recoosmend — my apologies. I don't recollect
15 tee fall conversation, but obviously, there would be

16 two. One would be to continue the conversation on the
17 garment book. Or two, look for other options that

18 possibly anybody snd everybody would be satisfied with.
vQ Did you give him any suggestions for bow to find out
20 mre about other options than simply persisting with the
21 Milles and Levis book?

22 A. Again, I don't remember any specific. it would not be
23 © out of charactes for me to tell biz to call and make

24 sure he has comtacted every other district and everyone
25 be knows of w sce if there would have boca anotber

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00013
1 textbook.

2 ‘Now do i remember that specific conversation? No.

3 Would it be out of my character? Again, no.

4Q 1s it possible that im that conversation you suggested

5S that he not only contact other public school districts

6 but that ke contact parochial schools in the area?

TA Tt is possible | told him to contact everybody and

a amybody that be hada't comtacted before.

9Q ‘When you first saw the memoranduns reporting on his

10 contacts with parochial schools, what did you do with

iW that information?

12 A. Readit

13 Q. Did you talk to him about it?

4A Yes, but I don't remember the conversation.

15 Q ‘Were you surprised whea you got the memorandum to sce
16 that it only reported on contacts with parochial schools

17 and dida't provide any information about contacts with

18 other area schools?

19 A No.

20 Q. Lask why not?

21 A. Because 1 would have assumed he would have contacted the

22 other parochial schools beforehand.

23 Q. Did you mean most of the other public schools?

24 A. Yes, my apologies.

23Q Did you know that he actually did make those contacts?

Richard Nilsen 4/14/05 (Day 2)

pools
1 drawer ot ina file, and thal no use was made of it

2A Well-

3 Q. Praying to figure out what use was made of that

4 information since somebody went to the trouble to

5 collect it.

6 A. Well, I think that is a question that needs to be

7 directed w Mr. Baksa being he generated information and
8 it was his responsibility  rescarch and make the

9 Tecommendation on the textbook.

10 Q. Did you see at this time, which is after the June Board
vv meeting, that the selection of a biology textbook was
12 not just the selection of another textbook but had

a Decome 3 matter of primary interest to the Board, at
14 feast in terms of its curriculum responsibilities?

15 A. Lamsorry. I don't understand the question.

16 Q. It was a cumbersome question (Cam you remember any
17 othes debate and discussion involving the teachers, the
18 administration and the Board on a textbook selection
9 that bas the same characteristics as what you and the
20 District have bees through since last June on the

2 selection of a biology textbook?

22 A. Yes.

23 Q. Which textbook was thar?

24 A. The chemistry book the prior year and the family

25 consumer science books the prior year.

Richard Nilsen 4/14/05 (Day 2)

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00014
1 A. No, I don't know that as a fact.

2Q. Did you suggcst at amy time to Mr. Baksa that he speak

3 with any of the families that are providing home

4 schooling in your district ~

5A No.

6Q. — to sce what textbooks they used?

TA. No.

8Q. Did you make auy inquiries on your own about alternative
3 biology textbooks? That is alternatives to Miller and

10 Levin.

it A No.

12Q ‘What was done, if you know, with the information that
13 Mr. Baksa collected about the books being used in

14 parochial schools?

15 A. Ido not know.

16 Q Did you share the memorandusn or that information with
17 any Board member?

18 A. Shave no recollection of that.

19 Q. Did you ask Mr, Bekss wo share that information with any
20 Board member?

21 A. Shave no recollection of that cither.

22 Q. {aan trying to understand what happened whea he

23 developed the information. You received the

24 information, and the sense I have is that it landed on a
25 piece of papes, and the piece of paper landed in a

Richard Nilsen 4/14/05 (Day 2)

00016
1 Q. What was the controversy involving the chemistry book?

2A. The financial issuc, as well as the issue of whether the
3 teachers needed the book or wot.

4 Q. By finzacial, you mean the cost of the book?

5 A. The ability for the District to pay for a new book.

6 Q. assume whether the teachers needed it or not was an
7 aspect of that financial decision?

RA You

9 Q And the other book was family consumer scicoce?
10 A. That is correct.

41 Q What was the controversy surrounding that?

12 A. The controversy surrounded whether it was an identical
i replacement of the book that the faculty already had,
14 and the issue of whether the Board could omce again
15 finance a textbook that the teachers already bad ix
16 their possession.

17 Q  Instikes me that both of those comtoversics — and I
18 will use that word in quotes — involved basically

19 _ fimancial considerations, cost considerations. It

20 mppears to me that the discussions about the biology
21 book involve its contents.

2 Cam you think of any other situation when a book
B is being considered by the Board for inclusion im the
24 curriculum when there has been this kind of attention.
25 snd costroversy devoted to that subject?

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Page 16
00017
TA

a w&

00019
1

2

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1 will clarify yous question. The family consumer
science book was content issue based on the fact that
they thought tbe content was already in our curriculum
and didn't see the reason to purchase another book that
had the same content

Okay.

Not specifically along the same lines, but along the
same general conversation. The District gets a donation
from the county on a book pamphlet that we give to our
students that has a number of agencies listed in it, and
a Board member and a parent bad a considerable concern
on the information that was in the book, specifically
dealing with comments dealing with sexual education and
issues concerning specific agencies that was in there.

To the poiat of where we ended up sending home
information prior to the students receiving the books,
as well as a discussion of whether to even continuc
handing out the individual books.

And through nny experience, not only in this
district, bet other districts, any time we have adopted
a health curriculum, there bas always been conversations
zeroing in on what is and what is not taught as it
Selates to the curriculum.

Mr. Bonsell and I had conversations and I believe
a third party, but nonetheless I believe Mr. Bonsell has

Richard Nilsen 4/14/05 (Day 2) Page 17

placed in our planned courses. That is 2 routine

3 BY MR SCHMIDT:

4Q
5
6A

7Q

At the time of the June meeting in 2004, had you ever
beard of the notion of Intelligent Design?

Not that | can remember, no.

Do you remember your first contact with the Discovery
Institute? And by you in this case, | am referring to
you personally.

Me personally, yes.

‘When did that contact take place?

The fall of 2004.

Where did the contact take piace?

Over the phone.

Who else was involved in the telephone contact?

No one else.

That wasn't meant to be a trick question. You were on
the phone. ‘Who cise was on the phone, somebody from the
Discovery Institute?

Yes.

Do you remember who it was?

No, I don't.

Do you know someone named Seth Cooper?

Yes.

There is a deposition exhibit that has previously been

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00018

also talked to Mr, Baksa about the health curriculum in
know Mr. Baksa is meeting next week, if not the
following week, with another Board membct dealing with
ous drug and alcoho! curriculum, specifically where
inhalants are being taught.
If your question is does the Board bold
discussions on multipie issacs with coment beyond this
individual issue, my expericace is yes.
10 Q Om those issues where the Board has cither demonstrated
ir of expressed a keen interest in a decision like the
12 distribution of » pamphlet, or the sciection of a

wa A nH me ww

13 textbook, is i1 your practice as Mr. Baksa's supervisor
14 and as the Superintendent of Schools to basically say we
15 have got to pay attention wn this, get it right, be sure

16 that we do what we need to do to be giving all the

17 informatioa tw the Board and do the best job we can?
18 You don't treat it as a routine matter, do you?

19 MR GILLEN: | object to the form.

20 A. 1 think it is ayoutine manner. | think the routine

21s mateer of the Board's reviewing curriculum aad making
22 comments abow! curriculum is routine. Board members
23 historically have had conversations about what is in the
24 curriculum, and their recommendations on what should be
25 in the curriculum, and what type of curricalam should be

a

Richard Nilsen 4/14/05 (Day 2)

00020
1 tmarked as Plaintiff 38 which I would ask you to take a

2 Wook at?

3 A. (Witness complies.)

4 MR. GILLEN: Tom, I mentioned to Eric yesterdy
5 that 40, I have a problem with in that ] am mot sure if
6 it wasn't inadvertently provided. | need to go back to
7

the office sod check on that
8 MR. SCHMIDT: Otay.
9 MR GILLEN: Thank you.

10 BY MR. SCHMIDT:

11. Q. Dr. Nilsea, have you seen this document before today?
12 A. Vikave reviewed oves 2,000 documests. Does this jump
{3 owtatme? No. Would ! have reviewed it before? 1

14 believe so.

35 Q. Do you recall secing this ¢-mail at about the time it
16 was sent in June of 20047

17 A. Not to my recollection, no.

18 Q. Were you aware in June of 2004 that Seth Cooper of
9 anyone from the Discovery lostitate was reaching owt and
20 trying to contact Mr. Bonsell?

21 A Not to my recollection, po.

22 Q. HM you would, book at the e-mail address at the wp of
23 Plaintiffs 38. Is the e-mail address for Mr. Bouseil

4 one that is provided by the School District?

25 A Yes.

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00049
i that teachers were not to teach Intelligent Design?

2A. Lamsoryy. Idon't understand that.

3 Q Okay. Why weren't the teachers to teach intelligent

4 Design?

5 A. Based on the fact that it is not one of the standaris.
6Q Dy reading of the curicnlam docuroeats tells we tht the
7 smovat of tine devoted © Evolution is 19 days?

8A No.

9 Q. ‘Hiv simch time is devoted to Evolation?

   

18 Q. What is Darwin's opinion about the origin of life as you
19° understand it? 1 am now looking at the next sentence.
20 A. I doa't know.

21 Q. What did you mean when you put that sentence in the
22 release?

23 A. The Board belicves that there are other options and
24 discussions on Darwin's opinion on the origins of lifc,
25° and I have communicated that

Richard Nilsen 4/14/05 (Day 2) Page 49

0005}
4 There is the Big Bang Theory of where the

2 beginning of time was created out of an explosion in
3 some capacity. And there is also the conversation that
4 there is a Godlike entity that created earth and

5 everything on it

6 MR SCHMIDT: Off the record, please.
7 (An off-the-record discussion was had.)
8 (Plaintifts Exhibit 43 was marked.)

9 BY MR. SCHMIDT:

10 Q._ Dr. Nilsen, have you had an opportunity w review

i Ptaintiffs Exhibit 43?

12 A. Yes, I have.

13 Q. Identify the document, please.

14 A. The document is Administrator's Biology Statement in
15 Biology Class.

16 Q. Bates numbered 10991100. Do you know who prepared this
7 document?

18 A Yes.

19 Q Who?

20 A Idid.

21 Q What nse was made of the document?

22 A. The document was read in total by cither myscif or Mr.
23 Baksa.

24Q. Verbatim?

25 A. 99.9 percent.

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00050
1Q ‘The semence reads the Schoo! Board has moted that there

2 ave opinions other than Darwin's on the origin of
3 life — cad of quote.

4 Do you know what Darwin's opinioas on the origin
5 of life are?
6A No.

7Q Did you make any inquiry about what the Board bad ia

& mind when it said there are other opinions?

9 A. No. But my context was some Board members differed with
10 —_ Darwin's concept of origins of life and communicated

u such publicly.
12 Q. Why did you capitalize origin of life in these
33° sentences?

MwA Ihave no idea.

15 Q. Are you aware of any opinions other than Darwin's

16 opinion on the origin of life, whatever that may be?
WA Yeo.

18 Q. What are the other opinions that you are aware of?

19 A. There is the opinion -- and I have no idea how to spell
20 «it — Plantaria, whatever it is, where there are alieus

2 that have come in some capacity. The whole coaversation
2 dealing with the pyramids and the structure thal the

23 earth was created by an outside force, whatever that --
24 either alien as defined as aa entity beyond homo sapiens
25° onearth

———T

Richard Nilsen 4/14/05 (Day 2)

0052
1 Q. Was it the plan w stick —

2 A. Asclose as possible.
3Q. Paragraph five on page two of the document includes a
4 statement that there will be no other discussion of the

5 issue and your teachers will not aswer any questions om

6 this issue.
7 ‘What is this issue that is referred to in that
8  pasagraph?

9 A. The issuc of Intelligent Design.

0Q ‘When you prepared what has bees marked as P-43, what was
i your understanding of the diffcrence between the

12 Intelligent Design explanation of the origin of life and
13. Darwin's explanation of the origin of life?

14 A. When I prepared the document?

15 Q. Right.

16 A. At that time, 1 dom't think I had an undesstanding.
17 Q. Do you recall when you prepared the document?
1A Yes.

19 Q. When?

20 A. It would have becs im mid January.

2! Q. Do you have an understamding now?

22 A. | have somewhat of an understanding. | don't think I
23 have a total understanding,

24 Q. | can't ask for perfection, but what is your present
25 andesstanding?

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1 A. Intelligem Design refers wo an order. Darwin refers 10

2 Tandommess.

3 Q. And how do those twe notions thal you have just stated
4 have 10 do with ihe origin of life?

5 A Asit telaes to Darwin, there could be a randomness 1
6 think bis theory is survival of the fitest. And

7 Intelligem Design has a specific design wo it, nota

&g randomness.

9Q. Utbink I wok that from the order versus random Bat
10 what do those two notions have to do with what you have
It used the phrase and it is used im this document the

12 origin of life, do you have any understanding of the

3 relationship between the two concepis you have referred
14 to and the origin of life?

15 A. Not beyond what | have said, no.

 

‘om have boca am educator. for gomg on 20 years?

 

20 — that they are-not to discuss tapics, and teachers are

2b "got permitted to commacet on topics with stadews?

22 MR. GILLEN: Object to the form.

A Yew

24 BY MR. SCHMIDT:

25 Q. Cam you give me anothers circumstance besides this one?

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00055

2A.
3Q And appears, for insinace, that the refercaces to

4 Darwin, Darwin's Theory of the origin of species and

5 _lavet avevng Bolton ae spend rgb is

 

 

  

 

theory of Evolution wet Yinnited to two days im the

Age?

 

14 A. The ngiiness thot every Superintendent sad Assistant
is "sapesnendent in he fc ta che each no

 

24. QU As Superintendent, are you concetned that the guide's
25 call Vor. 19 days of instruction and your teachers are

Richard Nilsew 4/14/05 (Day 2) Page 55

 

 

5 Q. Did any parents or students ever contact you after the

6& — statement was read?

7 A. Not that i remember, po.

8Q. Fam going 3 show you 3 docament that has been marked :
9 previously an Piaintifis 9. Have you had az opportunity

10 te teok at Exbibia P-9?

ul Ai avit: Read it im total, no.

  

12Q. Ease ak you some qusions. If you need to review it

19 Q. Is this the Biology One Carriculum that was in place
20 ‘belore October 18%, 20047

2 AL Ter est of yy ability, yes.

2Q ‘ated: your belp to understand it. As [ read this

2B tlk suggrsted tn me that there were 19 days out
24k biology curricalum devoted to natural selection,
25 the sebchasism of Evolution and the origins afbio

 

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! tctting you thcy are only devoting two? .

 

 

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7
17.Q. As T understand what happened in response to the two

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19

Sentences that appear at the beginning of — 1 am sorry

— threc sentences that appear at the beginning of this

exhibit, Dr. Peterman is disciplined for having made a

statement that she beard from Mrs. Spahr, but Mrs. Spabr

is pot disciplined for having made the original

Statement which you and Mr, Baksa think is untrue?
MR GILLEN: Object to the form.

25 A. lcam speak to the first which is yes. I can’t speak to

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2 Q. How did you reach the determunation to give Dr. Peterman

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4
5

a bad evaluation because of what appears in this first
pasagyaph without doing an investigation ~
MR. GILLEN: Object to the form

6 BY MR. SCHMIDT:
7Q  —with Mr. Baksa?

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MR GILLEN: | am sory.
MR. SCHMIDT: That is all right. ! paused

A The evaluation was not soicty based on this individual
action. it was significantly broader obviously than
this. And the behavior reflected not solely the
information, but the process of the information.

BY MR. SCHMIDT:

Q. Did you ever instruct Dr. Peterman about how she was to
behave of interact with the Board at Board mectings?

A. Yes.

Q. What instructions did you give her?

A. The Board directed me to direct to her that when she
came to Board mectings, that she like every other
individual was to be recognized prior to coming to the
podium, was to direct ber comments tp the Bomd and not
the constiments.

She was also not to raise her voice. She was also

not to pound the podium. And she was to be or point,

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1 the other point based om the fact that J have pot an

2 understanding of what Dr. Peterman did and what Mr.

3 Baksa did with the individual teacher.

4Q. Did you ask Dy. Peterman what she did in hes supervision
5 of Mrs. Spahr about this subject?

6 A. No, not this subject, no.

7 Q. Is it your position as the Superintendent that when

& somebody that you are evaluating repeats the statement

9 of another person, if that statement taurus out 1 be

10 untrue, thai the person you supervise bears the

H responsibility for that untrath?

12 Let me withdraw the question. It's too big. 1

13° have already got your answer ow it. I understand what
14 youdid.

15 MR GILLEN: Thank you, Tom.

16 BY MR. SCHMIDT:

17 Q. Did you have any further discussion with Mr. Baksa about
18 the subject of his reported conversation with Mrs. Spahr
19 om the topics that are addressed is this memorandum?
20A Ye.

21. Q When did you have that conversation with bam?

22 A. Over the past year.

22. Q. Did you have s conversatios with him sround the time
24 that this memorandum was issued ia April of 037

25 A. Ina general sease, yes. As it relates to specifics,

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00064
1 nat wander off a point.

2 Q. Did you give her those directions ia writing?
“———_—+
4 Q. Es thot the current state of her instructions with

s Fespect to Board mectings?

6 A. Sheis no longer employed.

7Q. Was she fired?

& A No. Sbe bas since gone w another district where she is

9 im litigation with the Superintendent because the

10 —- Superintendest pat her on leave, a3 the prior district

11 also pat ber on leave. So out of three districts, two

12 outof the three, she was put on leave for behavior

13 wmbecorming to ap administrator.

14 Q. [would like to show you a documeat that has previously
15 been mosrked as Plaintiffs 28. 1 just have a quick

16 {question or two sbout this.

17 Dr. Nilsen, at least initially, you cam probably

18 answer my question by looking at the first page. If

9 someone else has already asked this, | apologize to you.
20 Bat és this your handwriting on this document?

21 A No.

22. Q Do you know whose it is?

23 A Without certainty. Bu! it does look like Mr. Baksa's.

3A Yes.

24 — Wis neater than mine.
25 MR. GILLEN: Off the record.

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activistic stand against what the Supreme Coust bad
already done. There was a conversation we had about
what was currently being discussed in the national
paper, as well as what impact the Board — I am sorry —

what impact the Supreme Court had directly on schools.

6 Q. Okay. Let me just go back explain one line of

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testimony you gave eartier this morning. | had asked
you a cosple of questions about the origin of life
debate and what your understanding is of origin of life.

As lL reflect back on your testimomy, | am not sare
T understand what you mean when you refer in the
documents you have written amd what you are
understanding is about the policy of the Board when it
vefers to origin of life.

HH you will bear with me for a minute, could you

explain it again?

17 A. My apologies, but I think you asked three different

 

00095,

questions.

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MR. GILLEN: I just have 2 few questions, ‘fom.

2 BY MR GILLEN:

3.Q Mr. Schiridt asked you a few questions. One set of them

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related to Plaintiffs Deposition Exhibit 9 which is that

memo from Dr. Peterman. Tom asked you did you take

action in light of that, and you said no.
Just to be clear on this point, at the time that

you received this memo, did Dr. Peterman have 2 lot of

credibility with you?

Zero.

‘Was it im large measure because this memo came from Dr.

Peterman which explained your maction?
Two things. One, first of all, | knew no one was

discussing cither from the administrative standpoint, or
the Board standpoint, or Mr. Baksz's standpoint. of my

Standpoint any discussioa of Creationism So a memo

that generated and stated that there was a discussion of

Creationism had absolutely a son starter.

Seoondly, as it related to Dr. Peterman, I didn't
believe anything she pus in writing anyway. In fact,
onc of the priot evaluations [ had with her was to stop
pulting things in writing because she would put things
in writing prior t knowmg what acmally was the
reality. And I had t spend time with her going back
aad correcting what was on the record.

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ZA Yea.

zB
24
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MR. SCHMIDT: All right. That is all | bave.
Thank you. | appreciate your staying through hinch to
get this completed.

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She had a long history of putting things in
writing that were inaccuraic that we had to go back and
correct,

She had dictated to the faculty that she no longer
would talk to any faculty members, and that the oaly way
sbe would communicate with facnhy members is through
Department Chairs. And the only way that Department
Chairs could taik wo her is if they requested a meeting.

And then im the middle of that year (03-04, she

communicated the Deparnment Chair, she would no longer

talk t them. So she generated informatios that was
Ywtally inaccurate im meme format.

So her credibility with me in any wrines format
‘was sbsobstely nonexistent. And cventually, it was
reflected in the end of the year evaluations.

16 Q. Tom also directed your attention to Plaintiff Exhibit

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48. When I looked at it here today, I noticed that it
said any future communication pertaining to
Crcationisnyintelligent Design intended for the Scicace
Deparumest shall be in written form.

Is it accurate that the teachers whea they
discussed Intelligent Design equated it with Creationism
in the way they have bere in this memo?

24 A. Yes. There was never any communication ever on

25

Creationism. And they had a behavior of equating both,

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